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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                                               )
UNITED STATES OF AMERICA                       )
                                               )
       V.                                      )      Criminal No. 1:19-cr-10080-NMG
                                               )
DAVID SIDOO et al.                             )
                                               )
       Defendants.
                                               )
----------------
                          DEFENDANT DOUGLAS HODGE'S
                     WAIVER OF APPEARANCE FOR ARRAIGNMENT

       Pursuant to Federal Rule of Criminal Procedure 10(b), Defendant Douglas Hodge hereby

waives his right to appear in court for arraignment on the Second Superseding Indictment in the

above-captioned matter. Defendant and his counsel affirm that Mr. Hodge has received a copy of

the Second Superseding Indictment and that Mr. Hodge pleads NOT GUILTY.

       Therefore, Mr. Hodge respectfully asks the Court to accept this waiver and enter a plea of

NOT GUILTY in his absence.

Dated: April 15, 2019




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                            Counsel for Douglas Hodge




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                                  CERTIFICATE OF SERVICE

       I, Brien T. O'Connor, hereby certify that a true and correct copy of this document filed through

the ECF system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) on April 15, 2019.




                                               Isl Brien T. O'Connor




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